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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,                      §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §         Civil Action No. 2:23-cv-00436-JRG
                                                  §
 SMOOTHIE KING FRANCHISEES,                       §
 INC.,                                            §
                                                  §
        Defendant.                                §


      JOINT MOTION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT


       Pursuant to the Court’s Standing Order, Plaintiff Symbology Innovations, LLC (“Plaintiff”)

and Defendant Smoothie King Franchises, Inc. (“Defendant”) together submit this Joint Motion to

Stay all Deadlines and Notice of Settlement. All matters in controversy between the parties have

settled in principle with a Settlement Agreement executed on November 30, 2023. Accordingly, the

parties jointly move the Court to stay the above-captioned case, including staying the entry of a

Docket Control Order, for thirty (30) days to allow time for payment before the appropriate dismissal

papers are submitted.




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Respectfully submitted on November 30, 2023.


 /s/ Eric Pinker, P.C.                             /s/ Christopher A. Honea
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 ATTORNEYS FOR DEFENDANT                           COUNSEL FOR PLAINTIFF
 SMOOTHIE KING FRANCHISEES, INC.                   SYMBOLOGY INNOVATIONS, LLC




                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule CV-7(h), I certify that all parties have met and conferred and that
this Joint Motion is agreed.

                                                /s/ Eric Pinker, P.C.
                                                Eric Pinker, P.C




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy has been electronically filed using the CM/ECF
filing system on November 30, 2023, which automatically sends email notifications to all counsel of
record and which will permit viewing and downloading of same from the CM/ECF system.


                                                /s/ Eric Pinker, P.C.
                                                Eric Pinker, P.C.




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